   Case: 1:22-cv-06169 Document #: 83 Filed: 04/30/24 Page 1 of 5 PageID #:1675
   Case: 23-2992    Document: 00714371564          Filed: 04/30/2024   Pages: 5



   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


       Everett McKinley Dirksen
                                                                               Office of the Clerk
       United States Courthouse
                                                                              Phone: (312) 435-5850
    Room 2722 - 219 S. Dearborn Street
                                                                              www.ca7.uscourts.gov
         Chicago, Illinois 60604




                                                BILL OF COSTS
April 30, 2024

Taxed in Favor of: Appellee Jason Roberts ; Appellee Keely Roberts ; Appellee Christine
Zeifert ; Appellee Michael Zeifert ; Appellee Jeffrey Bennett ; Appellee Lauren Bennett ;
Appellee Michael Bennett ; Appellee Terri E. Bennett ; Appellee Deborah Samuels ; Appellee
Elliot Samuels ; Appellee Elizabeth Turnipseed ; Appellee Bruce Sundheim ; Appellee
Jonathan Straus ; Appellee Peter Straus ; Appellee Lorena Rebollar Sedano ; Appellee Alejo
Toledo ; Appellee Josefina Toledo ; Appellee Petra Toledo ; Appellee Ricardo Toledo ;
Appellee Mirna Rodriguez ; Appellee Oscar Sanchez ; Appellee Joshua Chupack ; Appellee
Lizet Montez ; Appellee Gabriela Vergara ; Appellee Sylvia Vergara ; Appellee Antonio
Melgar ; Appellee Amelia Tenorio

                                    KEELY ROBERTS and JASON ROBERTS, individually and as
                                    parents and next friends of C.R. and L.R.,
                                               Plaintiffs - Appellees

No. 23-2992
                                    v.

                                    SMITH & WESSON BRANDS, INC., et al.,
                                             Defendants - Appellants
                                    LAUREN BENNETT, individually and as parent and next friend of
                                    T.B. and W.B., et al.,
                                               Plaintiffs - Appellees

No. 23-2993
                                    v.

                                    SMITH & WESSON BRANDS, INC., et al.,
                                             Defendants - Appellants
                                    BRUCE SUNDHEIM, as Special Administrator of the Estate of
                                    JACQUELINE SUNDHEIM, deceased,
No. 23-2994                                 Plaintiff - Appellee

                                    v.
   Case: 1:22-cv-06169 Document #: 83 Filed: 04/30/24 Page 2 of 5 PageID #:1676
   Case: 23-2992    Document: 00714371564          Filed: 04/30/2024   Pages: 5




                      SMITH & WESSON BRANDS, INC., et al.,
                               Defendants - Appellants
                      LORENA REBOLLAR SEDANO,
                              Plaintiff - Appellee

No. 23-2995           v.

                      SMITH & WESSON BRANDS, INC., et al.,
                               Defendants - Appellants
                      MIRNA RODRIGUEZ and OSCAR SANCHEZ, individually and
                      as parents and next-friends of J.S., K.S., and O.S.,
                                  Plaintiffs - Appellees

No. 23-2996
                      v.

                      SMITH & WESSON BRANDS, INC., et al.,
                               Defendants - Appellants
                      SYLVIA VERGARA, et al.,
                               Plaintiffs - Appellees

No. 23-2997           v.

                      SMITH & WESSON BRANDS, INC., et al.,
                               Defendants - Appellants
                      MICHAEL ZEIFERT and CHRISTINE ZEIFERT, individually and
                      as parent and next-friend of B.R.Z., B.M.Z., K.Z., and L.Z.,
                                  Plaintiffs - Appellees

No. 23-2998
                      v.

                      SMITH & WESSON BRANDS, INC., et al.,
                               Defendants - Appellants
                      ELIZABETH TURNIPSEED,
                              Plaintiff - Appellee

                      v.
No. 23-2999

                      SMITH & WESSON BRANDS, INC. and AMERICAN OUTDOOR
                      BRANDS CORPORATION,
                               Defendants - Appellants
   Case: 1:22-cv-06169 Document #: 83 Filed: 04/30/24 Page 3 of 5 PageID #:1677
   Case: 23-2992    Document: 00714371564          Filed: 04/30/2024   Pages: 5



                             PETER STRAUS and JONATHAN STRAUS, as Co-Administrators
                             of the ESTATE OF STEPHEN STRAUS, deceased,
                                        Plaintiffs - Appellees

No. 23-3000
                             v.

                             SMITH & WESSON BRANDS, INC., et al.,
                                      Defendants - Appellants
                             RICARDO TOLEDO, individually and as Special Administrator of
                             the ESTATE OF NICOLAS TOLEDO, deceased, et al.,
                                       Plaintiffs - Appellees

No. 23-3001
                             v.

                             SMITH & WESSON BRANDS, INC. et al.,
                                      Defendants - Appellants
                             JOSHUA CHUPACK, individually and as next friend of I.C.,
                                     Plaintiff - Appellee

                             v.
No. 23-3002

                             SMITH & WESSON BRANDS, INC. and AMERICAN OUTDOOR
                             BRANDS CORPORATION,
                                      Defendants - Appellants
                             AMELIA TENORIO and ANTONIO MELGAR, individually and
                             as parents and next-friends of C.M.,
                                         Plaintiffs - Appellees

No. 23-3003
                             v.

                             SMITH & WESSON BRANDS, INC., et al.,
                                      Defendants - Appellants
Originating Case Information:
District Court No: 1:22-cv-06169
Northern District of Illinois, Eastern Division
District Judge Steven C. Seeger
Originating Case Information:
District Court No: 1:22-cv-06171
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06178
Northern District of Illinois, Eastern Division
     Case: 1:22-cv-06169 Document #: 83 Filed: 04/30/24 Page 4 of 5 PageID #:1678
     Case: 23-2992    Document: 00714371564          Filed: 04/30/2024   Pages: 5


Originating Case Information:
District Court No: 1:22-cv-06183
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06185
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06190
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06193
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06359
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06181
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06191
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06361
Northern District of Illinois, Eastern Division
Originating Case Information:
District Court No: 1:22-cv-06186
Northern District of Illinois, Eastern Division


The mandate or agency closing letter issued in this cause on April 30, 2024.

BILL OF COSTS issued in the amount of: $166.50.

                                                               Cost of         Total Cost
                                                               Each Item       Each Item
1.    For docketing a case on appeal or review or
      docketing any other proceeding:                          __________      __________
2.    For reproduction of any record or paper,
      per page:                                                __________      __________
3.    For reproduction of briefs:                              __________         166.50

                                                               TOTAL:            166.50
    Case: 1:22-cv-06169 Document #: 83 Filed: 04/30/24 Page 5 of 5 PageID #:1679
    Case: 23-2992    Document: 00714371564          Filed: 04/30/2024   Pages: 5


form name: c7_BillOfCosts   (form ID: 140)
